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8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
9
10     Scott Johnson                             Case No.
11               Plaintiff,
12                                               Complaint For Damages And
            v.                                   Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       Petroglyph, Inc., a California            Act; Unruh Civil Rights Act
14     Corporation
15               Defendants
16
17           Plaintiff Scott Johnson complains of Petroglyph, Inc., a California
18   Corporation; and alleges as follows:
19
20
       PARTIES:
21
       1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
22
     level C-5 quadriplegic. He cannot walk and has significant manual dexterity
23
     impairments. He uses a wheelchair for mobility and has a specially equipped
24
     van.
25
       2. Defendant Petroglyph, Inc. owned Petroglyph Ceramic Lounge located
26
     at or about 1140 Lincoln Ave., San Jose, California, in July 2021.
27
       3. Defendant Petroglyph, Inc. owns Petroglyph Ceramic Lounge
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1    (“Petroglyph”) located at or about 1140 Lincoln Ave., San Jose, California,
2    currently.
3      4. Plaintiff does not know the true names of Defendants, their business
4    capacities, their ownership connection to the property and business, or their
5    relative responsibilities in causing the access violations herein complained of,
6    and alleges a joint venture and common enterprise by all such Defendants.
7    Plaintiff is informed and believes that each of the Defendants herein is
8    responsible in some capacity for the events herein alleged, or is a necessary
9    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
10   the true names, capacities, connections, and responsibilities of the Defendants
11   are ascertained.
12
13     JURISDICTION & VENUE:
14     5. The Court has subject matter jurisdiction over the action pursuant to 28
15   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
16   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
17     6. Pursuant to supplemental jurisdiction, an attendant and related cause
18   of action, arising from the same nucleus of operative facts and arising out of
19   the same transactions, is also brought under California’s Unruh Civil Rights
20   Act, which act expressly incorporates the Americans with Disabilities Act.
21     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
22   founded on the fact that the real property which is the subject of this action is
23   located in this district and that Plaintiff's cause of action arose in this district.
24
25     FACTUAL ALLEGATIONS:
26     8. Plaintiff went to Petroglyph in July 2021 (three times) with the intention
27   to avail himself of its goods or services motivated in part to determine if the
28   defendants comply with the disability access laws.


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1      9. Petroglyph is a facility open to the public, a place of public
2    accommodation, and a business establishment.
3      10. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
4    to provide wheelchair accessible tables in conformance with the ADA
5    Standards as it relates to wheelchair users like the plaintiff.
6      11. Petroglyph provides tables to its customers but fails to provide
7    wheelchair accessible tables.
8      12. A couple of problems that plaintiff encountered was the lack of
9    sufficient knee or toe clearance under the tables for wheelchair users.
10   Additionally, other tables were too high.
11     13. Plaintiff believes that there are other features of the tables that likely fail
12   to comply with the ADA Standards and seeks to have fully compliant tables for
13   wheelchair users.
14     14. On information and belief, the defendants currently fail to provide
15   wheelchair accessible tables.
16     15. Additionally, on the dates of the plaintiff’s visits, the defendants failed
17   to provide wheelchair accessible sales counters in conformance with the ADA
18   Standards as it relates to wheelchair users like the plaintiff.
19     16. Petroglyph provides sales counters to its customers but fails to provide
20   wheelchair accessible sales counters.
21     17. One problem that plaintiff encountered was that the sales counter was
22   too high. There was no counter that was 36 inches or less in height that plaintiff
23   could use for his transactions.
24     18. Plaintiff believes that there are other features of the sales counters that
25   likely fail to comply with the ADA Standards and seeks to have fully compliant
26   sales counters for wheelchair users.
27     19. On information and belief, the defendants currently fail to provide
28   wheelchair accessible sales counters.


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1      20. The failure to provide accessible facilities created difficulty and
2    discomfort for the Plaintiff.
3      21. These barriers relate to and impact the plaintiff’s disability. Plaintiff
4    personally encountered these barriers.
5      22. As a wheelchair user, the plaintiff benefits from and is entitled to use
6    wheelchair accessible facilities. By failing to provide accessible facilities, the
7    defendants denied the plaintiff full and equal access.
8      23. The defendants have failed to maintain in working and useable
9    conditions those features required to provide ready access to persons with
10   disabilities.
11     24. The barriers identified above are easily removed without much
12   difficulty or expense. They are the types of barriers identified by the
13   Department of Justice as presumably readily achievable to remove and, in fact,
14   these barriers are readily achievable to remove. Moreover, there are numerous
15   alternative accommodations that could be made to provide a greater level of
16   access if complete removal were not achievable.
17     25. Plaintiff will return to Petroglyph to avail himself of its goods or services
18   and to determine compliance with the disability access laws once it is
19   represented to him that Petroglyph and its facilities are accessible. Plaintiff is
20   currently deterred from doing so because of his knowledge of the existing
21   barriers and his uncertainty about the existence of yet other barriers on the
22   site. If the barriers are not removed, the plaintiff will face unlawful and
23   discriminatory barriers again.
24     26. Given the obvious and blatant nature of the barriers and violations
25   alleged herein, the plaintiff alleges, on information and belief, that there are
26   other violations and barriers on the site that relate to his disability. Plaintiff will
27   amend the complaint, to provide proper notice regarding the scope of this
28   lawsuit, once he conducts a site inspection. However, please be on notice that


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1    the plaintiff seeks to have all barriers related to his disability remedied. See
2    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
3    encounters one barrier at a site, he can sue to have all barriers that relate to his
4    disability removed regardless of whether he personally encountered them).
5
6    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
7    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
8    Defendants.) (42 U.S.C. section 12101, et seq.)
9      27. Plaintiff re-pleads and incorporates by reference, as if fully set forth
10   again herein, the allegations contained in all prior paragraphs of this
11   complaint.
12     28. Under the ADA, it is an act of discrimination to fail to ensure that the
13   privileges, advantages, accommodations, facilities, goods and services of any
14   place of public accommodation is offered on a full and equal basis by anyone
15   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
16   § 12182(a). Discrimination is defined, inter alia, as follows:
17            a. A failure to make reasonable modifications in policies, practices,
18                or procedures, when such modifications are necessary to afford
19                goods,     services,   facilities,   privileges,    advantages,     or
20                accommodations to individuals with disabilities, unless the
21                accommodation would work a fundamental alteration of those
22                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
23            b. A failure to remove architectural barriers where such removal is
24                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
25                defined by reference to the ADA Standards.
26            c. A failure to make alterations in such a manner that, to the
27                maximum extent feasible, the altered portions of the facility are
28                readily accessible to and usable by individuals with disabilities,


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1                 including individuals who use wheelchairs or to ensure that, to the
2                 maximum extent feasible, the path of travel to the altered area and
3                 the bathrooms, telephones, and drinking fountains serving the
4                 altered area, are readily accessible to and usable by individuals
5                 with disabilities. 42 U.S.C. § 12183(a)(2).
6      29. When a business provides tables, it must provide accessible tables.
7      30. Here, accessible tables have not been provided in conformance with the
8    ADA Standards.
9      31. When a business provides sales counters, it must provide accessible
10   sales counters.
11     32. Here, accessible sales counters have not been provided in conformance
12   with the ADA Standards.
13     33. The Safe Harbor provisions of the 2010 Standards are not applicable
14   here because the conditions challenged in this lawsuit do not comply with the
15   1991 Standards.
16     34. A public accommodation must maintain in operable working condition
17   those features of its facilities and equipment that are required to be readily
18   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
19     35. Here, the failure to ensure that the accessible facilities were available
20   and ready to be used by the plaintiff is a violation of the law.
21
22   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
23   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
24   Code § 51-53.)
25     36. Plaintiff repleads and incorporates by reference, as if fully set forth
26   again herein, the allegations contained in all prior paragraphs of this
27   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
28   that persons with disabilities are entitled to full and equal accommodations,


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1    advantages, facilities, privileges, or services in all business establishment of
2    every kind whatsoever within the jurisdiction of the State of California. Cal.
3    Civ. Code §51(b).
4       37. The Unruh Act provides that a violation of the ADA is a violation of the
5    Unruh Act. Cal. Civ. Code, § 51(f).
6       38. Defendants’ acts and omissions, as herein alleged, have violated the
7    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
8    rights to full and equal use of the accommodations, advantages, facilities,
9    privileges, or services offered.
10      39. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
11   discomfort or embarrassment for the plaintiff, the defendants are also each
12   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
13   (c).)
14      40. Although the plaintiff encountered frustration and difficulty by facing
15   discriminatory barriers, even manifesting itself with minor and fleeting
16   physical symptoms, the plaintiff does not value this very modest physical
17   personal injury greater than the amount of the statutory damages.
18
19             PRAYER:
20             Wherefore, Plaintiff prays that this Court award damages and provide
21   relief as follows:
22           1. For injunctive relief, compelling Defendants to comply with the
23   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
24   plaintiff is not invoking section 55 of the California Civil Code and is not
25   seeking injunctive relief under the Disabled Persons Act at all.
26           2. For equitable nominal damages for violation of the ADA. See
27   Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
28   and any other equitable relief the Court sees fit to grant.


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1       3. Damages under the Unruh Civil Rights Act, which provides for actual
2    damages and a statutory minimum of $4,000 for each offense.
3       4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
4    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
5
6    Dated: January 13, 2022         CENTER FOR DISABILITY ACCESS
7
8                                    By: _______________________
9                                          Amanda Seabock, Esq.
                                           Attorney for plaintiff
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